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                                    Document 1
USCA4 Appeal: 07-4115           Doc: 43             Filed: 03/15/2007             Pg: 2 of 2


                                     UNITED STATES COURT OF APPEALS
                                                    FOR THE FOURTH CIRCUIT
                                          Lewis F. Powell, Jr. United States Courthouse Annex
                                                    1100 E. Main Street, Suite 501
                                                   Richmond, Virginia 23219-3517

    Patricia S. Connor                                  www.ca4.uscourts.gov                      Telephone
           Clerk                                                                                (804) 916-2700




                                                  March 15, 2007



              Paulette Martin
              #38350-037
              SFF Hazelton
              P. O. Box 3000
              Bruceton Mills, WV           26525


                         Re: 07-4060 US v. Paulette Martin
                                    8:04-cr-00235-RWT


              Dear Ms. Martin:

                   We acknowledge receipt of your motion for clarification and to
              deconsolidate. The letter was sent to your attorney who will act in
              your behalf. All future correspondence, including motions, should be
              sent directly to your attorney.




                                                                Yours truly,

                                                                PATRICIA S. CONNOR
                                                                      Clerk


                                                                  /s/ Sharon A. Wiley
                                                                By: ________________________
                                                                     Deputy Clerk



              Copies to:

              Michael Daniel Montemarano, Esq.
              MICHAEL D. MONTEMARANO, PA
              Suite 201
              5695 Main Street
              Elkridge, MD 21075
